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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

 Brian Musgrave,                           ) Civil Action No.: 2:25-cv-01823-RMG
                                           )
                               Plaintiff, )
                                           )                  COMPLAINT
 vs.                                       )          (Defamation Per Se / Libel Per Se
                                           )             Bivens Claim, Conspiracy)
 Nancy Mace and Jane/John Does 1-5,        )
                                           )
                             Defendant. )              JURY TRIAL DEMANDED!
                                           )
      The Plaintiff, complaining of the conduct of the Defendants herein, alleges as follows:

                                         Introduction

       According to the National Domestic Violence Hotline, 1 out of every 3 women in the

United States has experienced rape, physical violence and/or stalking by an intimate partner in

their lifetime. The problem is massive, and the Plaintiff strongly supports the investigation and

prosecution of those who engage in this unlawful conduct.

       On the evening of February 10, 2025, Congresswoman Nancy Mace took to the floor of

Congress to share allegations involving her personal story of rape, voyeurism and sex trafficking

at the hands of her ex-fiancé. In her approximately hour-long presentation, Congresswoman Mace

shared intimate details of how she was allegedly incapacitated, sexually violated and filmed by

others. In addition to her ex-fiancé, Congresswoman Mace identified three other males by name

and by photograph who she described as rapists, predators and sex traffickers – including Brian

Musgrave of Fort Mill, South Carolina.

       Just hours before the speech, Brian Musgrave was running errands and was parked in a

Lowe’s parking lot in his hometown of Fort Mill, South Carolina, when he received an odd text

from someone purporting to be a reporter with the Wall Street Journal. The text inquired whether

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Brian wished to comment on the speech that Nancy Mace intended to deliver from the floor of

Congress later that evening, a speech in which Brian Musgrave’s name would be mentioned. Brian

did a quick Google search and verified that the person who sent the text was in fact a reporter with

the Wall Street Journal. Brian then searched “Nancy Mace floor speech” and realized it was real

– he was in fact about to be named in a speech by Nancy Mace. Brian spent the hours leading up

to the speech calling friends and relatives to let them know that his name and likeness would appear

on the floor of Congress and that he would be falsely accused of being a rapist, a predator and a

sex trafficker.

        Brian Musgrave’s only nexus to Congresswoman Mace’s speech is his longtime friendship

with Mace’s ex-fiancé through which the two men own an investment condominium and a home

together on the Isle of Palms.     Mace’s ex-fiancé resided periodically at the Isle of Palms

condominium. It is at this property that Mace alleges she and/or others were incapacitated, raped

and filmed.

        •   Brian Musgrave was not present.

        •   Brian Musgrave did not incapacitate anyone.

        •   Brian Musgrave did not assist anyone in Mace’s alleged rape.

        •   Brian Musgrave did not film anyone.

        •   Brian Musgrave has never seen any film or other image depicting the alleged rape of

            Congresswoman Mace or any other woman.

        While Brian Musgrave was aware that his friend had placed a Google camera on top of the

refrigerator in plain view in the condominium they own jointly together, he never had access to

the camera and never used it to film or view anyone. Musgrave had seen his friend and Ms. Mace




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together on a handful of occasions. While Musgrave and Mace’s ex-fiancé are longtime friends,

they are predominantly long-distance friends as well.

        On February 10, 2025, Congresswoman Nance Mace and her team destroyed the lives of

Brian Musgrave and his family. Perhaps the Defendants felt that the message was so powerful that

a little collateral damage in the form of Brian Musgrave’s name and reputation was acceptable. It

is not acceptable to Brian Musgrave. It is not acceptable to his family. While the speech and

debate clause of the United States Constitution affords broad protection to members of Congress

acting as part of its deliberative process, it does not transform the floor of Congress into a sanctuary

for defamation, nor does it protect Congresswoman Mace’s extra-Congressional defamatory

statements surrounding her speech. Now, it is with unbridled disgust that Brian Musgrave through

this lawsuit is forced to utter the words: “I am not a rapist.” “I am not a predator.” “I am not a sex

trafficker.” Through this action, Brian Musgrave seeks to recover that which has been wrongfully

taken from him – his good name and reputation.

                                      Parties and Jurisdiction

   1. The Plaintiff, Brian Musgrave (“Brian” or “Musgrave”) is a citizen and resident of York

       County, South Carolina.

   2. Upon information and belief, Defendant Nancy Mace (“Congresswoman Mace”) is a

       citizen and resident of Charleston County, South Carolina and is also a member of the

       United States House of Representatives representing the Lowcountry of South Carolina.

   3. Upon information and belief, Jane/John Does 1-5 are persons whose identities are not

       presently known, but who aided, abetted and/or conspired along with Defendant Mace in

       the conduct described hereinbelow.




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4. As many of the claims / defenses presented herein arise out of the Constitution and/or other

   federal law, jurisdiction is proper in this Court pursuant to 28 U.S.C. 1331.

5. As a substantial part of the events or omissions giving rise to the claims herein occurred in

   this District, venue is proper in this District pursuant to 28 U.S.C. 1391.

6. This Court has jurisdiction over the parties to and the subject matter of this litigation.

                                   Factual Background

7. Brian Musgrave resides in Fort Mill with his wife, Jen, of 22 years. They have a son and

   a daughter together.

8. Brian first met his friend Patrick Bryant (“Bryant”) when they were in 10th grade. They

   have remained friends ever since.

9. Throughout his adult life, Musgrave has resided predominantly in the Fort Mill, South

   Carolina area, while Bryant has resided primarily in and around Charleston, South

   Carolina.

10. As friends, Musgrave and Bryant have always talked, texted and emailed on a regular basis

   and have made time periodically for their paths to cross socially, vacationed together with

   their spouses and worked together professionally on common business interests.

11. Bryant was formerly married for approximately twenty (20) years, until his divorce in or

   around 2017.

12. During the time that both Musgrave and Bryant were married, they traveled together

   occasionally as couples and otherwise enjoyed a healthy married couples’ relationship

   growing their families and careers together.

13. In or around 2010, Musgrave and Bryant first invested in a beach condominium on the Isle

   of Palms. They purchased the condominium with the plan of renting it and generating



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   enough income through rental to defray the cost of ownership, while still leaving time for

   their respective families to enjoy the condominium for beach vacations and/or periodic use.

14. It was intended to be a family beach vacation home shared between the Musgrave and

   Bryant families.

15. While the unit number has changed over the years, Musgrave and Bryant have held an

   interest in a beach condominium on the Isle of Palms and joint ownership in a single-family

   home consistently since 2010.

16. Following his divorce, Bryant periodically resided in the beach condominium, which both

   lessened the income that it could generate and decreased the time it was available for

   Musgrave’s personal use with his family. Even so, Bryant paid for his use of the condo.

17. Still, Bryant was Musgrave’s friend, and Musgrave was happy to accommodate his friend

   in the disorienting time following a divorce.

18. At some point in time, Musgrave became aware that Bryant had placed a Google camera

   in plain view on top of the refrigerator in the kitchen of the condominium unit and assumed

   that he used it for security or other such similar purposes. The camera is depicted in the

   picture below:




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19. Based on the layout of the condominium, the camera on top of the refrigerator was in plain

   view to anyone entering the unit and the camera would be able to see the kitchen and living

   room areas of the condominium, but not the bedrooms which were down hallways and

   behind doors.

20. Musgrave never had electronic access to the camera.

21. Musgrave never used the camera for surveillance.

22. Musgrave never used the camera to record any activity within the condominium, if indeed

   the camera was capable of making recordings.

23. If recordings were made with the camera, Musgrave never viewed them.

24. To Musgrave’s knowledge, the only camera that ever existed at the condominium was the

   Google camera that Bryant had placed on top of the refrigerator.

25. Moreover, Musgrave never installed any camera within the property for any purpose.

26. Following Bryant’s divorce, Musgrave recalls that his friend had a few romantic

   relationships with women before meeting Congresswoman Nancy Mace.


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27. Musgrave further recalls Bryant having a few relationships after his first break up with

   Ms. Mace and before their eventual engagement.

28. While Musgrave did not have a great deal of interaction with Bryant and Mace as a couple,

   from Musgrave’s perspective, it appeared that Bryant and Mace were very much in love

   leading up to the time that the couple got engaged.

29. Upon information and belief, Bryant and Mace purchased real estate together, including

   properties on the Isle of Palms and in Washington, DC.

30. To the best of Musgrave’s recollection, Bryant’s relationship with Mace began to sour in

   or around November, 2023.

31. Upon information and belief, matters between Bryant and Mace became quite contentious

   as the couple disagreed on how to divide the assets that they had acquired together.

32. While contentious, Musgrave never heard of any allegations by Mace that Bryant had acted

   inappropriately toward her in a sexual manner – that is, until February 10, 2025.

33. Upon information and belief, Mace and Defendants Doe began meeting prior to February

   10, 2025, for the purpose of planning a speech that Mace would deliver on the floor of

   Congress on February 10, 2025, as well as planning a subsequent course of conduct to

   pursue publicly the issues that were the subject of her floor speech.

34. The purpose of the speech was purportedly to shed light on the epidemic of sexual crimes

   against females in America and to do so through the revelation of Mace’s alleged personal

   experiences with Bryant and/or others.

35. Upon information and belief, Congresswoman Mace had come into possession of evidence

   which she believed depicted herself and/or others being sexually victimized by Bryant or

   others.



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36. It is unknown how Congresswoman Mace procured the evidence.

37. It is unknown what, if any, evidence exists as Congresswoman Mace has chosen not to

   share the evidence publicly.

38. Upon information and belief, the matters that Congresswoman Mace chose to bring to the

   floor on February 10, 2025, were matters that were known to her since at least 2023.

39. Upon further information and belief, after a long and contentious disagreement over the

   division of their common assets, Mace and Bryant resolved the issues surrounding the

   division of their properties on or around February 14, 2025.

40. Upon information and belief, Mace and team sought to use the floor of Congress to insulate

   themselves from liability under the protection of the speech and debate clause of the United

   States Constitution for allegations which Mace intended to make against Musgrave, which

   allegations Mace and team knew to be false and defamatory as against Brian Musgrave.

41. The speech and debate clause of the United States Constitution is intended to protect

   members of Congress from having to worry that anything they say in the course of

   legislative activities will implicate them in a lawsuit.

42. The protections of the speech and debate clause are not absolute and do not protect against

   speech made outside of Congress and/or speech that is outside of the course of legislative

   activities.

43. Other than to inflict pain on Bryant’s friend, it is unclear as to the reasons why Mace and

   team chose to include Brian Musgrave in her speech on the floor on the evening of February

   10, 2025.

44. Prior to her speech from the floor of Congress on February 10, 2025, and without warning

   to the Plaintiff, Defendant Mace and/or Defendants Does pre-released a version of the



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   speech that Mace intended to make from the floor that evening to the press, including but

   not limited to FitsNews. A copy of the released speech is attached hereto as Exhibit A.

45. The publication of the speech attached hereto as Exhibit A falsely accuses the Plaintiff of

   the commission of crimes and/or immoral acts and/or unchaste acts in numerous manners,

   including but not limited to some or all of the following:

       a. Stating that Musgrave is guilty of the crime of rape;

       b. Referring to Musgrave as a sexual predator;

       c. Stating that Musgrave is guilty of the crime of sex trafficking;

       d. Stating that Musgrave is guilty of the crime of sexual assault;

       e. Suggesting that Musgrave illegally videotaped Congresswoman Mace engaged in

           a sex act;

       f. Suggesting that Musgrave participated in using drugs or other intoxicants in order

           to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Suggesting that Musgrave participated in the sexual abuse of any woman;

       h. Suggesting that Musgrave participated in the illegal surveillance, photographing

           and/or videotaping of any woman;

       i. Suggesting that Musgrave, who is married, is guilty of the crime of adultery; and

       j. Suggesting that it is unsafe for Musgrave to be in the presence of minor females.

46. The publication of Exhibit A is not protected by the speech and debate clause of the United

   States Constitution.

47. As Congresswoman Mace took to the floor of Congress on February 10, 2025, to deliver a

   version of the speech attached as Exhibit A, Musgrave was at home with his wife enjoying

   what would have otherwise been a quiet evening.



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48. On February 10, 2025, Congresswoman Mace spent over an hour on the floor of Congress

   systematically defaming Brian Musgrave and destroying his good name and reputation.

49. Moreover, Congresswoman Mace and her team had prepared a poster to use during the

   speech that included Brian Musgrave’s name and picture with the title “Predators.”

50. To be clear, Musgrave has no idea what transpired in the intimate relationships between

   Congresswoman Mace and any of her romantic partners.

51. Musgrave did not rape Congresswoman Mace.

52. Musgrave has never used a video camera to observe Congresswoman Mace or any other

   woman engaged in a sex act.

53. Musgrave has never filmed Congresswoman Mace or any other woman engaged in a sex

   act.

54. Musgrave has never assisted any other person in sexually assaulting Congresswoman Mace

   or any other woman.

55. Musgrave has never used drugs or alcohol to incapacitate Congresswoman Mace or any

   other woman.

56. Musgrave can only recall a handful of occasions when he was in the presence of

   Congresswoman Mace.

57. Still, on the evening of February 10, 2025, in the false perception of a safe environment for

   defamation, Congresswoman Mace leveled all of these accusations at Brian Musgrave.

58. Musgrave’s only nexus to any of the conduct described in Congresswoman Mace’s speech

   is that he owns a beach condominium in common with his friend, Patrick Bryant.

59. Musgrave was not present for and had no knowledge of any of the matters described in

   Congresswoman Mace’s speech.



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60. On February 10, 2025, Musgrave learned that he had been defamed by Congresswoman

   Mace and team when he received a call from a reporter with the Wall Street Journal seeking

   comment.

61. Following her speech, Congresswoman Mace sent a post to X at 7:25 PM through which

   she republished outside of the floor of Congress the same defamatory content regarding

   Brian Musgrave as she had delivered from the floor:




          A copy of the post is attached hereto as Exhibit B.

62. At last known count, Exhibit B and the lies it contains about Brian Musgrave have been

   viewed 2.8 million times.

63. As the news of the alleged crimes against Congresswoman Mace circulated on social

   media, she chose to repost certain content through which she repeated the false and

   defamatory statements that she had earlier made against Brian Musgrave.




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64. At 7:34 PM, on February 10, 2025, Congresswoman Mace reposted the following to her X

   account:




65. A copy of the post is attached hereto as Exhibit C.

66. At last known count, Exhibit C and the lies it contains about Brian Musgrave has been

   viewed 1.8 million times.

67. Caught flat-footed, Musgrave sought to defend himself by referring publicly to Mace’s

   speech as a “dangerous mix of falsehoods and baseless accusations leveled at four

   individuals without a shred of evidence.”

68. On February 11, 2025, at 7:45 AM, Defendant Mace doubled down on her allegations

   against Brian Musgrave and responded to his effort to defend himself with the following

   post on X:



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          A copy of the post is attached hereto as Exhibit D.

69. At last known count, Exhibit D and the lies it contains about Brian Musgrave has been

   viewed 477.9K times.

70. In Exhibit D, Congresswoman Mace alleges that she is in possession of metadata that

   presumably will link Brian Musgrave to her alleged crimes. Despite having demanded the

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   production of the evidence, nothing has been provided to date because no such evidence

   exists.

71. In Exhibit D, Congresswoman Mace alleges by implication that a SLED investigation is

   active against Brian Musgrave.

72. While the Plaintiff has been informed that there is in fact an active SLED investigation, he

   is also informed that he is not a target of any criminal investigations.

73. On February 11, 2025, at 8:22 AM, Defendant Mace replied with a post on X to a denial

   by Patrick Bryant that he had committed any crimes:

                      “Patrick Bryant put out the predicable ‘categorically denies’ statement

                       last night. Let me be clear, as I stated in my speech:”

                      “None of this is conjecture. This is not an allegation. These are the

                       facts. In black and white. Without exaggeration. Documented.”

74. Even if protection for her speech could be asserted under the speech and debate clause of

   the United States Constitution, and it cannot for the reasons set forth herein, through the

   above post, Defendant Mace re-published all of the false and defamatory statements

   contained in her speech that would have otherwise been afforded protection.

75. Through her post, Congresswoman Mace defamed the Plaintiff by asserting that all of the

   false and defamatory things said about Brian Musgrave during her February 10, 2025,

   speech from the floor of Congress were true.

76. Congresswoman Mace was not done with Brian Musgrave and/or with her campaign of

   defamation against him.

77. Outside of the protection of the floor of Congress under the speech and debate clause,

   Congresswoman Mace chose to hang the poster of the “Predators” in a public space in or



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   near her Congressional office, and by doing so, she chose to continue her false narrative

   that Brian Musgrave is a rapist, a predator and a sex trafficker.

78. However, even hanging the poster was not enough for Ms. Mace. Instead, she again took

   to X on February 11, 2025, at 1:11 PM, to post a picture of the poster depicting Brian

   Musgrave, the Predator:




           A copy of the post is attached hereto as Exhibit E.

79. At last known count, Exhibit E and the lies it contains about Brian Musgrave has been

   viewed 161.3K times.

80. Upon information and belief, the poster continues to hang in a public space in or near Ms.

   Mace’s office and through the poster, Ms. Mace continues to re-publish her defamatory

   allegations against Brian Musgrave each and every day.

81. On February 14, 2025, at 11:44 AM, Nancy Mace made a new post to X through which she

   republished a picture of the poster depicting Brian Musgrave, the Predator:

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          A copy of the post is attached hereto as Exhibit F.

82. At last known count, Exhibit F and the lies it contains about Brian Musgrave has been

   viewed 38.6K times.

83. On February 14, 2025, at 12:36 PM, Nancy Mace made a new post to X through which she

   again republished a picture of the poster depicting Brian Musgrave, the Predator:




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          A copy of the post is attached hereto as Exhibit G.

84. At last known count, Exhibit G and the lies it contains about Brian Musgrave has been

   viewed 43.4K times.

85. On February 14, 2025, at 9:45 PM, Nancy Mace made a new post to X through which she

   again republished a picture of the poster depicting Brian Musgrave, the Predator:




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           A copy of the post is attached hereto as Exhibit H.

86. At last known count, Exhibit H and the lies it contains about Brian Musgrave has been

   viewed 89.2K times.

87. The publication and re-publication of defamatory posts on social media are not protected

   by the speech and debate clause of the United States Constitution.

88. Every publication and republication of defamation is defamation.

89. Congresswoman Mace’s defamatory statements about Brian Musgrave have been

   published and republished millions of times.

90. Through her social media posts, Congresswoman Mace defamed the Plaintiff by asserting

   that evidence existed to support the allegations against him that he was a rapist, a predator

   and a sex trafficker.




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91. Through her social media posts, Congresswoman Mace defamed the Plaintiff by implying

   that he, Brian Musgrave, was the subject of an ongoing SLED investigation which she

   knew it not to be true.

92. If the foregoing was not enough, Congresswoman Mace took to the House Floor once again

   and delivered a second speech about her alleged sexual abuse and exploitation and once

   again inferred that Brian Musgrave was culpable to her for what allegedly happened.

93. Musgrave has no idea as to what, if any, evidence Congresswoman Mace possesses to

   suggest that any other person has committed a crime against her, but it is defamation per

   se for Congresswoman Mace to intertwine Musgrave into any such allegations when she

   knows that Musgrave is innocent of any and all such crimes.

94. Congresswoman Mace’s conduct is not protected by the speech and debate clause of the

   United States Constitution.

95. The Clause protects only acts that are an integral part of the deliberative and

   communicative processes by which Members participate in committee and House

   proceedings with respect to the consideration and passage or rejection of proposed

   legislation or with respect to other matters which the Constitution places within the

   jurisdiction of either House.

96. On February 10, 2025, Congresswoman Mace was not arguing for the consideration or

   passage of any proposed legislation. Instead, she appeared on the floor to advance a

   personal vendetta against her ex-fiancé.

97. After February 10, 2025, through her social media posts and other communications, even

   if Congresswoman Mace alleges that she was acting to inform the public and other

   Members of Congress, the transmittal of such information is not a part of the legislative



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   function or the deliberations that made up the legislative process so as to afforded

   protection under the speech and debate clause.

98. The speech and debate clause does not grant immunity for defamatory statements scattered

   far and wide by mail, press, and electronic media.

99. Congresswoman Mace acted outside of the scope of her employment as a United States

   Congresswoman through her campaign of defamation against Brian Musgrave.

100.       The defamation of Brian Musgrave by Congresswoman Mace was not reasonably

   necessary to accomplish any purpose of her employment as a United States

   Congresswoman.

101.       In addition to the conduct complained of herein and upon information and belief,

   Congresswoman Mace and her Jane Doe / John Doe team have otherwise engaged in a

   campaign of defamation against Brian Musgrave through efforts to recruit witnesses to

   support the allegations against him which they know to be false.

102.       Campaigning and recruiting witnesses to give false testimony to support

   defamation is not consistent with carrying on the business of the Congress and is not

   protected by the speech and debate clause, nor is it a matter within the course and scope of

   Congresswoman Mace’s employment as a United States Congresswoman.

                  For a First Cause of Action as against Defendant Mace
                          Libel Per Se – The Speech Pre-Release

103.       The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

104.       On February 10, 2025, Defendant Mace released a version of a speech that she

   intended later to give on the floor of Congress in writing to the press for purposes of

   publication.


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105.      The written version of the speech that Defendant Mace released for publication

   contains a number of false allegations against the Plaintiff as is libelous per se in that:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

106.      These and other false statements were published to third parties.

107.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

108.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.



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               For a Second Cause of Action as against Defendant Mace
               Libel Per Se – The February 10, 2025, 7:25 PM Post to X

109.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

110.      On February 10, 2025, at 7:25 PM, Defendant Mace posted a link to her speech on

   X through which she repeated all of the false and defamatory comments that she had made

   from the floor.

111.      The post contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

112.      These and other false statements were published to third parties.


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113.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

114.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Third Cause of Action as against Defendant Mace
               Libel Per Se – The February 10, 2025, 7:34 PM Post to X

115.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

116.      On February 10, 2025, at 7:34 PM, Defendant Mace reposted a post to her X

   account that made reference to her having outlined all of the “crimes that were committed

   against her and other women,” including implicitly all of the crimes that were allegedly

   committed against herself and other women by Brian Musgrave.

117.      The post contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;


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       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

118.      These and other false statements were published to third parties.

119.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

120.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Fourth Cause of Action as against Defendant Mace
               Libel Per Se – The February 11, 2025, 7:45 AM Post to X

121.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

122.      On February 11, 2025, at 7:45 AM, Defendant Mace posted to X in response to

   Brian Musgrave’s denial of any wrongdoing.

123.      The post contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:


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       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

124.      These and other false statements were published to third parties.

125.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

126.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Fifth Cause of Action as against Defendant Mace
              Libel Per Se – The February 11, 2025, 8:22 AM Post to X




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127.       The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

128.       On February 11, 2025, at 8:22 AM, Defendant Mace posted on X in response to a

   denial of allegations by Patrick Bryant that with regard to her speech, “None of this is

   conjecture. This is not an allegation. These are the facts. In black and white.” Implicitly,

   her post states that it is a fact in black and white that Brian Musgrave is a rapist, a predator

   and a sex trafficker.

129.       The post contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

           act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

           to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

           any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.



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130.      These and other false statements were published to third parties.

131.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

132.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Sixth Cause of Action as against Defendant Mace
                          Libel Per Se – Hanging the Poster

133.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

134.      On February 11, 2025, Defendant Mace hung a poster containing and image of

   Brian Musgrave with the caption “Predators” in a public space in or near her Congressional

   office, and by doing so, she chose to continue her false narrative that Brian Musgrave is a

   rapist, a predator and a sex trafficker.    At least through March 10, 2025 the poster has

   remained for public view.

135.      The poster contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;


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       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

136.      These and other false statements were published to third parties.

137.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

138.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Seventh Cause of Action as against Defendant Mace
                 Libel Per Se – February 11, 2025, 1:11 PM Post to X

139.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

140.      On February 11, 2025, at 1:11 PM, Defendant Mace posted to X a picture of the

   “Predators” poster hanging in a public space in or near her Congressional office.




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141.      The poster contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

142.      These and other false statements were published to third parties.

143.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

144.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount




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   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For an Eighth Cause of Action as against Defendant Mace
                 Libel Per Se – February 14, 2025, 11:44 AM Post to X

145.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

146.      On February 14, 2025, at 11:44 AM, Defendant Mace posted to X another picture

   of the “Predators” poster as the image appeared during her Congressional speech.

147.      The poster contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.


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148.      These and other false statements were published to third parties.

149.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

150.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

                 For a Ninth Cause of Action as against Defendant Mace
                  Libel Per Se – February 14, 2025, 12:36 PM Post to X

151.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

152.      On February 14, 2025, at 12:36 PM, Defendant Mace posted to X another picture

   of the “Predators” poster as the image appeared during her Congressional speech.

153.      The poster contains a number of false allegations against the Plaintiff as is libelous

   per se in that it reaffirms the false accusations contained in the speech, including the false

   allegations which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;




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       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

154.      These and other false statements were published to third parties.

155.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

156.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For a Tenth Cause of Action as against Defendant Mace
                                   Bivens Claim

157.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

158.      On the evening of February 10, 2025, from the floor of Congress, Defendant Mace

   was a federal official acting under federal authority when she delivered a speech that libeled

   and defamed the Plaintiff.




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159.       At all times prior to, during and since the delivery of the speech, the Plaintiff has

   enjoyed the Fifth and Fourteenth Constitutional rights to be free from the denial of life,

   liberty or property without due process of law.

160.       On the evening of February 10, 2025, and without any process, much less due

   process, Defendant Mace tried and convicted the Plaintiff in the court of public opinion of

   having committed sexual and violent crimes against women.

161.       Brian Musgrave had committed no crimes.

162.       Defendant Mace’s false accusations have deprived the Plaintiff of his right to enjoy

   his life and his liberty.

163.       The Plaintiff has suffered and continues to suffer harm as a result of the conduct of

   Defendant Mace.

164.       The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendant the seriousness of her

   conduct and to deter such similar conduct in the future.

               For an Eleventh Cause of Action as against All Defendants
                                 Defamation Per Se

165.       The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

166.       Upon information and belief, the Defendants have repeated the false accusations

   contained herein regarding Brian Musgrave to third parties in an effort to recruit witnesses

   and/or locate evidence to support the baseless allegations.




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167.      Upon information and belief, in seeking to recruit witnesses and/or locate evidence,

   the Defendants have published to third parties false and defamatory matters regarding the

   Plaintiff, including communications which:

       a. Accuses Musgrave of the crime of rape;

       b. Accuses Musgrave of being a sexual predator;

       c. Accuses Musgrave of the crime of sex trafficking;

       d. Accuses Musgrave of the crime of sexual assault;

       e. Accuses Musgrave of illegally videotaping Congresswoman Mace engaged in a sex

          act;

       f. Accuses Musgrave of participating in the use of drugs or other intoxicants in order

          to incapacitate Representative Mace so that she could be sexually abused by others;

       g. Accuses Musgrave of sexually abusing women;

       h. Accuses Musgrave of the illegal surveillance, photographing and/or videotaping of

          any woman;

       i. Accuses Musgrave of the crime of adultery; and

       j. Suggests that it is unsafe for Musgrave to be in the presence of minor females.

168.      These and other false statements were published to third parties.

169.      The publication of these and other false statements about the Plaintiff are so

   injurious to his reputation that the law presumes injury. Over and above any legal

   presumption, the Plaintiff and his family are devastated by these false accusations.

170.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount




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   determined by a jury to be sufficient to impress upon the Defendants the seriousness of

   their conduct and to deter such similar conduct in the future.

               For a Twelfth Cause of Action as against all Defendants
                                    Conspiracy

171.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

172.      The Defendants have combined together to inflict special harm on the Plaintiff

   through their conduct as described herein.

173.      The special harm suffered by the Plaintiff includes but is not limited to extreme

   emotional upset, loss of sleep, anxiety and the wasteful expenditure of time and money

   through legal proceedings made necessary in an effort to mitigate the harm inflicted upon

   him.

174.      The Plaintiff is entitled to and prays for an award of damages both actual, in an

   amount sufficient to compensate him fully for all losses herein, and punitive, in an amount

   determined by a jury to be sufficient to impress upon the Defendants the seriousness of

   their conduct and to deter such similar conduct in the future.

   For a Thirteenth – and Alternative - Cause of Action as against all Defendants
                           Permanent Injunctive Relief

175.      The paragraphs above are incorporated herein as if realleged and restated in full

   verbatim.

176.      The Plaintiff has suffered irreparable harm as a result of the conduct of the

   Defendants.

177.      Should the Court determine that the conduct of the Defendants as set forth herein

   is protected by the United States Constitution and/or other applicable law, and the Plaintiff



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       urges the Court not to so find, then the Plaintiff will be without remedy at law to stop the

       destruction of his reputation by the Defendants.

   178.        Considering the balance of the hardships between the Plaintiff and the Defendants,

       the Defendants would suffer no hardship by being enjoined permanently from defaming

       the Plaintiff.

   179.        Considering the balance of the hardships between the Plaintiff and the Defendants,

       the Plaintiff would suffer incredible hardship if the Defendants are not enjoined

       permanently from defaming the Plaintiff.

   180.        The issuance of a permanent injunction to prevent the Defendants from continuing

       to defame the Plaintiff would result in no harm to the public interest.

   181.        The Plaintiff is entitled to and prays for an order of this Court permanently

       enjoining the Defendants, and each of them, from defaming the Plaintiff.

   WHEREFORE, the Plaintiff is entitled to and prays for a judgment against the Defendants,

both actual, in an amount sufficient to compensate him fully for all losses herein, and punitive, in

an amount determined by a jury to be sufficient to impress upon the Defendants the seriousness of

their conduct and to deter such similar conduct in the future, as well as an Order permanently

enjoining the Defendants from defaming the Plaintiff, together with an award of attorney’s fees

and costs and such additional relief as the Court deems just and proper.




                              {SIGNATURE PAGE TO FOLLOW}




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Charleston, South Carolina               BLAND RICHTER, LLP
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